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                    IN THE UNITED STATES BANKRUPTCY COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                                    )    Chapter 7
 In re:                                             )
                                                    )
 DAMIEN AGUOCHA and                                 )    Case No. 18-10841-elf
 OBIOMA U. AGUOCHA,                                 )
                                                    )
                             Debtors.               )
                                                    )

    AMENDED NOTICE OF CHAPTER 7 TRUSTEE’S MOTION TO (I) APPROVE A
     SHORT SALE OF REAL PROPERTY FREE AND CLEAR OF LIENS, CLAIMS,
 ENCUMBRANCES, AND INTERESTS PURSUANT TO 11 U.S.C. § 363(b), (f), AND (m),
                           (II) BID PROCEDURES,
(III) SURCHARGE AGREEMENT BETWEEN SECURED LENDER AND THE ESTATE,
     (IV) SECURED LENDER’S RIGHT TO CREDIT BID, AND (V) OTHER RELIEF

       Gary F. Seitz, Chapter 7 Bankruptcy Trustee, has filed a CHAPTER 7 TRUSTEE’S
MOTION TO (I) APPROVE A SHORT SALE OF REAL PROPERTY FREE AND CLEAR OF
LIENS, CLAIMS, ENCUMBRANCES, AND INTERESTS PURSUANT TO 11 U.S.C. § 363(b),
(f), AND (m), (II) BID PROCEDURES, (III) SURCHARGE AGREEMENT BETWEEN
SECURED LENDER AND THE ESTATE, (IV) SECURED LENDER’S RIGHT TO CREDIT
BID, AND (V) OTHER RELIEF (THE “MOTION”).

Your rights may be affected. You should read these papers carefully and discuss them with
your attorney, if you have one in this bankruptcy case. (If you do not have an attorney, you
may wish to consult an attorney.)

1.      If you do not want the court to grant the relief sought in the motion or if you want the court
to consider your views on the motion, on or before 21 days from the date of this Notice, you or
your attorney must do all of the following:

                             (a)      file an answer explaining your position at

                                     Clerk of Bankruptcy Court
                               Robert N.C. Nix, Sr. Federal Courthouse
                                    900 Market Street, Suite 400
                                       Philadelphia, PA 19107

If you mail your answer to the bankruptcy clerk’s office for filing, you must mail it early enough
so that it will be received on or before the date stated above; and

                       (b)         mail a copy to the movant’s attorney:
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                                  Gary F. Seitz, Esquire
                                 Holly S. Miller, Esquire
                      GELLERT SCALI BUSENKELL & BROWN, LLC
                                      8 Penn Center
                          1628 John F. Kennedy Blvd., Suite 1901
                                 Philadelphia, PA 19103

2.      If you or your attorney do not take the steps described in paragraphs 1(a) and 1(b) above
and attend the hearing, the court may enter an order granting the relief requested in the motion.

3.     A hearing on the motion is scheduled to be held before the Honorable Eric L. Frank on
July 31, 2019 at 10:00 a.m. in Courtroom 1, United States Bankruptcy Court, 900 Market Street,
Second Floor, Philadelphia, PA 19107.

4.     If a copy of the motion is not enclosed, a copy of the motion will be provided to you if you
request a copy from the attorney named in paragraph 1(b).

5.     You may contact the Bankruptcy Clerk’s office at 215-408-2800 to find out whether the
hearing has been canceled because no one filed an answer.


Date: July 9, 2019

                                             GELLERT SCALI BUSENKELL
                                             & BROWN, LLC

                                             /s/ Holly S. Miller
                                             Gary F. Seitz, Esquire
                                             Holly S. Miller, Esquire
                                             8 Penn Center
                                             1628 John F. Kennedy Blvd., Suite 1901
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                                             Counsel for the Chapter 7 Trustee
